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            &RXQVHOKDVDSUHYLRXVO\VFKHGXOHGDSSHDUDQFHLQWKH&ULPLQDO&RXUWIRU.QR[&RXQW\

    7HQQHVVHH RQ WKLV GDWH ZKLFK FRQIOLFWV ZLWK WKLV &RXUW¶V HYLGHQWLDU\ KHDULQJ  7KH 'HIHQGDQW

    'RQWUHOO3LWWPDQLVQRWGLUHFWO\LQYROYHGLQWKHLVVXHVUDLVHGLQWKLVSDUWLFXODU0RWLRQWR6XSSUHVV

    DQGDQ\IDFWXDOPDWWHUZKLFKPD\FRPHRXWRIWKHHYLGHQWLDU\KHDULQJZKLFKPD\EHFRPHUHOHYDQW

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